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                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
 __________________________________________
 IN RE: COOK MEDICAL, INC, IVC FILTERS
 MARKETING, SALES PRACTICES AND                Master Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                 MDL No. 2570
 __________________________________________

 This Document Relates to:
 Plaintiffs listed in Exhibit A




         Considering the parties’ Stipulated Dismissal with Prejudice:

         IT IS HEREBY ORDERED, ADJUDGED AND DECLARED that all claims of

 Plaintiff(s) against the Cook Defendants in this Action are hereby dismissed with prejudice. The

 Complaint of Plaintiffs’ listed in Exhibit A attached hereto are hereby dismissed in entirety, with

 prejudice. Each party shall bear its own costs.

 Signed this       day of                                     , 20           .
 SO ORDERED this 11th day of August 2022.



                                               HONORABLE RICHARD L. YOUNG
                                               UNITED STATES DISTRICT JUDGE
                                               SOUTHERN DISTRICT OF INDIANA




  Distributed Electronically to Registered Counsel of Record




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                                    EXHIBIT A
                   Plaintiff Name            Filing No.
                   Gonzalez, Justin          1:15-cv-01569
                   Farmer, Consuelo          1:16-cv-00242
                   Earhart, Rheanna J.       1:16-cv-00249
                   Grasso, Erin              1:16-cv-02359
                   Garner, Nancy             1:17-cv-02055
                   Gee, Barbara              1:17-cv-02058
                   Gardner, Ebony            1:17-cv-02073
                   Edmundson, Marie B.       1:17-cv-02078
                   Eddie, Patrick            1:17-cv-02079
                   Dort, Scott E.            1:17-cv-02081
                   Conrey, James M.          1:17-cv-02092
                   Cunningham, Jerry T.      1:17-cv-02094
                   Currie, Betty L.          1:17-cv-02095
                   Davis, Sharon Kay         1:17-cv-02096
                   Davis, Shauna C.          1:17-cv-02097
                   Doty, Kathy               1:17-cv-02166
                   Dalrymple, Curt           1:17-cv-03136
                   Franklin-Brim, Norma J.   1:17-cv-03139
                   Gichia, Jannie E.         1:17-cv-03150
                   Glenn, Violetta           1:17-cv-03151
                   Gooding, Becky L.         1:17-cv-03152
                   Dunavin, Billy S.         1:17-cv-03184
                   Estes, Emily              1:17-cv-03186
                   Grinde, Donald A.         1:17-cv-03249
                   Davis, Terry L. Jr.       1:17-cv-03714
                   Fogerty, Timothy          1:17-cv-03765
                   Fajri, Angelia M.         1:17-cv-03767
                   Dupre, Gerard R.          1:17-cv-03814
                   Dalton, Dan B.            1:17-cv-03842
                   Eikleberry, Wanda M.      1:17-cv-03851
                   Delepierre, William M.    1:17-cv-03853
                   Coombs, Dorothy M.        1:17-cv-03861
                   Cox, Alfred L. Jr.        1:17-cv-03873
                   Dickey, Arnold A. Jr.     1:17-cv-03892
                   Farias, Edith C.          1:17-cv-03894
                   Grant, Christopher E.     1:17-cv-03909
                   Frodle, Kenet J.          1:17-cv-04048
                   Dolce, Jack S.            1:17-cv-04117


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                   Fontenot, Dorothy A.      1:17-cv-04181
                   DeStefano, Karol          1:17-cv-04184
                   Freitas, Joshua F.        1:17-cv-04187
                   Criego, Rose Mary         1:17-cv-04191
                   Fletcher, Donnie L.       1:17-cv-04227
                   Geissinger, Patricia A.   1:17-cv-04234
                   Cuicio, Sam               1:17-cv-04236
                   Donnely, Stephen M.       1:17-cv-04250
                   Farmer, Joanne P.         1:17-cv-04255
                   Fuller, Billy J.          1:17-cv-04257
                   David, Cynthia A.         1:17-cv-04282
                   Dickson, Janet S.         1:17-cv-04288
                   Embrey, Tammy J.          1:17-cv-04308
                   Ford, Arvin L.            1:18-cv-00146
                   Forester, Brent C.        1:18-cv-00146
                   Cooley, Stanley           1:18-cv-00617
                   Donato, Ricardo           1:18-cv-00631
                   Figuccio, James           1:18-cv-00632
                   Fletcher, Franklin        1:18-cv-00644
                   Garcia, Pedro C.          1:18-cv-00655
                   Giard, Scott              1:18-cv-00656
                   Givens, Charles           1:18-cv-00659
                   Cooper, Gay L.            1:18-cv-01113
                   Cropp, Mark               1:18-cv-01130
                   Defur, Cherilea           1:18-cv-01376
                   Dickinson, Jane D.        1:18-cv-01688
                   Emiliani, Charlotte E.    1:18-cv-01690
                   Gayles, Kathi V.          1:18-cv-01691
                   Ghee, Dorothy             1:18-cv-01692
                   Gray, Sharon A.           1:18-cv-01694
                   Dunston, Judy D.          1:18-cv-03308
                   Davison, Anthony L.       1:19-cv-00924
                   Griffin, Angela M.        1:19-cv-01313
                   Contello, Donnaann        1:19-cv-01322
                   Davis, Vincent L.         1:19-cv-01539
                   George, Wanda J.          1:19-cv-01548
                   Gardner, James W.         1:19-cv-01551
                   Dubignon, Margaret L.     1:19-cv-01626
                   Duschak, Barbara Jean     1:19-cv-01730
                   Eppinger, Donald A.       1:19-cv-01870
                   Dietrich, Thomas          1:19-cv-02116


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                   D'Aquila, Joseph Craig       1:19-cv-02389
                   Graves, Burton William       1:19-cv-02685
                   Gray, Ronald Marshall        1:19-cv-02686
                   Ellenburg, William Leander   1:19-cv-02687
                   Freeman, Elisha Jr.          1:19-cv-02770
                   Griffin, Carolyn Marie       1:19-cv-02855
                   Enzman, John William Jr.     1:19-cv-02885
                   De Lima, Robin Scott         1:19-cv-02888
                   Flego, Fred Michael          1:19-cv-02971
                   Derrick, Margie Ann          1:19-cv-03146
                   Drennan, Vance Salvador      1:19-cv-03360
                   Connette, William D.         1:19-cv-03361
                   Crawford, David Bernard      1:19-cv-03377
                   Forney, Birdie               1:19-cv-03475
                   Dudick, Robert               1:19-cv-03493
                   Franklin, Sr, Anthony        1:19-cv-03507
                   Eward
                   Franklin, Yvonne             1:19-cv-04897
                   Delariva, Roberto            1:20-cv-00694
                   Galan, Josefina              1:20-cv-03291




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